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                       THE UNITED STATES DISTRICT COURT
15                     DISTRICT OF NEVADA – RENO DIVISION
16   MARLONESHA BECKER,                       ) Case No.:
     individually and on behalf of all others ) COLLECTIVE ACTION
17
     similarly situated,                      )
18                                            ) COMPLAINT FOR DAMAGES
19                        Plaintiff,          ) (1) Failure to Pay Minimum Wage, 29
             vs.                              )     U.S.C. § 203(d);
20                                            ) (2) Failure to Pay Overtime Wages, 29
21   KAMY KESHMIRI, an individual;            )     U.S.C. § 207; and
     JAMY KESHMIRI, an individual;            ) (3) Unlawful Taking of Tips and
22   FANTASY GIRLS, LLC, a Nevada             )     Diversion/Kickback in Violation of
23   limited liability corporation; DOE       )     29 U.S.C. § 203
     MANAGERS 1-3; and DOES 4-100,            )
24   inclusive,                               ) DEMAND FOR JURY TRIAL
25                       Defendants.          )
                                              )
26                                            )
27                                            )

28

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 1           Plaintiff MARLONESHA BECKER, individually and on behalf of all others
 2   similarly situated, alleges the following upon information and belief, based upon
 3   investigation of counsel, published reports, and personal knowledge:
 4   I.      NATURE OF THE ACTION
 5           1.   Plaintiff MARLONESHA BECKER (“Plaintiff” or “Becker”), and all
 6   persons similarly situated, and alleges causes of action against defendants KAMY
 7   KESHMIRI, an individual, JAMY KESHMIRI, an individual, FANTASY GIRLS,
 8   LLC, a Nevada limited liability corporation and DOE MANAGERS 1-3, and DOES
 9   4 through 100, inclusive (collectively, “Defendants”) for damages.
10           2.   The Defendants required and/or permitted Becker, and all those
11   similarly situated to work as an exotic dancer at their adult entertainment club,
12   Fantasy Girl in Reno, Nevada. Plaintiff worked at the clubs, run out of Washoe
13   County, Nevada, in excess of forty (40) hours per week, but refused to compensate
14   her at the applicable minimum wage and overtime rates under both Federal and
15   Nevada law. In fact, Defendants refused to compensate Plaintiff or those similarly
16   situated whatsoever for any hours worked. Plaintiff, and those similarly situated,
17   were only compensated in the form of tips from club patrons. Moreover, Plaintiff and
18   those similarly situated were required to divide her tips with Defendants and other
19   employees who do not customarily receive tips. These were all done under the
20   auspices whereby Defendants violated the Fair Labor Standards Act and/or the Tip
21   Income Protection Act, 29 U.S.C. § 203 (“TIPA”) and by unlawfully seizing a
22   portion of Plaintiff’s tips. Therefore, Defendants have failed to compensate Plaintiff
23   at the federally-mandated minimum wage rate.
24           3.   Defendants’ conduct violates the Fair Labor Standards Act (FLSA),
25   which requires non-exempt employees to be compensated for their overtime work at
26   a rate of one and one-half times their regular rate of pay. See 29 U.S.C. § 207(a).
27   Defendants also required Plaintiff and to make certain payments to Defendants’
28   employees and others which caused Plaintiff’s wages to drop below the minimum

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 1   wage and applicable overtime wage, thereby constituting an illegal deduction under
 2   the FLSA. As a result of Defendants’ violation of the FLSA, Plaintiff seeks all
 3   unpaid minimum and overtime wages, recovery of unlawful deductions, liquidated
 4   damages, interest, and attorneys’ fees and costs pursuant to 29 U.S.C. § 216.
 5            4.      During her time being employed by Defendants, Plaintiff, and those
 6   similarly situated, was denied minimum wage minimum wage payments and denied
 7   overtime as part of Defendants’ scheme to classify Plaintiff and other dancers as
 8   “independent contractors.” As the Department of Labor explained in a recent
 9   Administrative Interpretation:
10
                   Misclassification of employees as independent contractors is
11
                   found in an increasing number of workplaces in the United States,
12                 in part reflecting larger restructuring of business organizations.
13                 When employers improperly classify employees as independent
                   contractors, the employees may not receive important
14                 workplace protections such as the minimum wage, overtime
15                 compensation, unemployment insurance, and workers’
                   compensation. Misclassification also results in lower tax revenues
16                 for government and an uneven playing field for employers who
17                 properly classify their workers. Although independent
                   contracting relationships can be advantageous for workers and
18                 businesses, some employees may be intentionally misclassified as
19                 a means to cut costs and avoid compliance with labor laws.1
20   As alleged in more detail below, that is exactly what Defendant is doing in this case.
21
              5.      Plaintiff worked at Defendants’ Fantasy Girl club during the past three
22
     years.
23
              6.      Defendants failed to pay Plaintiff, and those similarly situated,
24
     minimum wages and overtime wages for all hours worked in violation of 29 U.S.C.
25
     §§ 206 and 207 of the Fair Labor Standards Act, 29 U.S.C. § 201 et. seq. (“FLSA”).
26
     1
27        See DOL Admin. Interp. No. 2015-1, at
         http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
28

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 1            7.    Defendants’ conduct violates the Fair Labor Standards Act (FLSA),
 2   which requires non-exempt employees to be compensated for their overtime work at
 3   a rate of one and one-half times their regular rate of pay. See 29 U.S.C. § 207(a).
 4            8.    Defendants’ practice of failing to pay tipped employees pursuant to
 5   29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C.
 6   § 206.
 7            9.    Defendants forcing Plaintiff and those similarly situated to pay House
 8   Fees just to work further violates the FLSA.
 9            10.   Plaintiff brings a collective action to recover the unpaid overtime
10   compensation and minimum wages, stolen tips and illegal house fees owed to her
11   individually and on behalf of all other similarly situated employees, current and
12   former, of Defendants in Nevada. Members of the Collective Action are hereinafter
13   referred to as “FLSA Class Members.”
14            11.   As a result of Defendants’ violations, Plaintiff and the FLSA Class
15   Members seek to recover double damages for failure to pay minimum wage,
16   overtime liquidated damages, recover diverted income, interest, and attorneys’ fees.
17   II.      NATURE OF THE ACTION
18            12.   Plaintiff is an individual adult resident of the State of California.
19   Plaintiff was employed by Defendants and qualifies as an “employee” of Defendants
20   as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her consent to this action is attached
21   hereto as Exhibit “1”.
22            13.   Defendant JAMY KESHMIRI is an individual who resides in Washoe
23   County, Nevada California. He is the owner, controlling shareholder, and exerts day
24   to day management over the defendant entities FANTASY GIRLS, LLC. JAMY
25   KESHMIRI individually, also exerts day to day management and operational control
26   over FANTASY GIRLS, LLC and is frequently present at, and owns, directs,
27   controls and manages the operations at the club. Pursuant to an across the board,
28   corporate wide policy dictated and enforced by Defendants, including Defendant

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 1   JAMY KESHMIRI, as well as the other Defendants herein, refuse to pay dancers-
 2   entertainers minimum wage and earned overtime, by mischaracterizing them as
 3   “independent contractors.” Defendant JAMY KESHMIRI is an “employer” or “joint
 4   employer” within the meaning of the Fair Labor Standards Act. Upon information
 5   and belief, Defendant JAMY KESHMIRI may be served with process at 515 S.
 6   Virginia Street, Reno, Nevada 89501.
 7         14.    Defendant KAMY KESHMIRI is an individual who resides in Washoe
 8   County, Nevada California. He is the owner, controlling shareholder, and exerts day
 9   to day management over the defendant entities FANTASY GIRLS, LLC. KAMY
10   KESHMIRI individually, also exerts day to day management and operational control
11   over FANTASY GIRLS, LLC and is frequently present at, and owns, directs,
12   controls and manages the operations at the club. Pursuant to an across the board,
13   corporate wide policy dictated and enforced by Defendants, including Defendant
14   JAMY KESHMIRI, as well as the other Defendants herein, refuse to pay dancers-
15   entertainers minimum wage and earned overtime, by mischaracterizing them as
16   “independent contractors.” Defendant JAMY KESHMIRI is an “employer” or “joint
17   employer” within the meaning of the Fair Labor Standards Act. Upon information
18   and belief, Defendant JAMY KESHMIRI may be served with process at 515 S.
19   Virginia Street, Reno, Nevada 89501.
20         15.    Defendant FANTASY GIRLS, LLC (“Fantasy Girls”) is a Nevada
21   limited liability corporation with its principal place of business at 515 S. Virginia
22   Street, Reno, Nevada 89501 that operates at 1095 E. 4th Street, Reno, Nevada. At all
23   times mentioned herein, Fantasy Girls was an “employer” or “joint employer” of
24   Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203 (d) and (g). Fantasy
25   Girls’ agent for service of process is defendant KAMY KESHMIRI and is identified
26   to be located, via with filings with the Nevada Secretary of State at 515 S. Virginia
27   Street, Reno, Nevada 89501.
28         16.    DOE MANAGERS 1-3 are the managers/owners who control the

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 1   policies and enforce the policies related to employment at Fantasy Girls.
 2         17.    Defendants’ entire business model was based on taking advantage of
 3   Plaintiff by exploiting her and forcing her to participate in an invalid tip-pool with
 4   Defendants and employees of Defendants.
 5         18.    The true names, capacities or involvement, whether individual,
 6   corporate, governmental or associate, of the Defendants named herein as DOES 4
 7   through 100, inclusive are unknown to Plaintiff who therefore sues said Defendants
 8   by such fictitious names. Plaintiff prays for leave to amend this Complaint to show
 9   their true names and capacities when the same have been finally determined.
10   Plaintiff is informed and believes, and upon such information and belief alleges
11   thereon, that each of the Defendants designated herein as DOE is negligently,
12   intentionally, strictly liable or otherwise legally responsible in some manner for the
13   events and happenings herein referred to, and negligently, strictly liable intentionally
14   or otherwise caused injury and damages proximately thereby to Plaintiff, as is
15   hereinafter alleged.
16         19.    Plaintiff is informed and believes that, at all relevant times herein,
17   Defendants engaged in the acts alleged herein and/or condoned, permitted,
18   authorized, and/or ratified the conduct of its employees and agents, and other
19   Defendants and are vicariously or strictly liable for the wrongful conduct of its
20   employees and agents as alleged herein.
21         20.    Plaintiff is informed and believes, and on that basis alleges that, each of
22   the Defendants acted, in all respects pertinent to this action, as the agent or employee
23   of each other, and carried out a joint scheme, business plan, or policy in all respect
24   thereto and, therefore, the acts of each of these Defendants are legally attributable to
25   the other Defendants, and that these Defendants, in all respects, acted as employer
26   and/or joint employers of Plaintiff in that each of them exercised control over her
27   tips and the establishment’s forced tip pooling procedures.
28         21.    Plaintiff is informed and believes, and on that basis alleges that, at all

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 1   relevant times, each and every Defendant has been the agent, employee,
 2   representative, servant, master, employer, owner, agent, joint venture, and alter ego
 3   of each of the other and each was acting within the course and scope of his or her
 4   ownership, agency, service, joint venture and employment.
 5          22.   At all times mentioned herein, each and every Defendant was the
 6   successor of the other and each assumes the responsibility for the acts and omissions
 7   of all other Defendants.
 8   III.   COVERAGE
 9          23.   At all material times, Defendants have been employers or “joint
10   employers” within the meaning of 3(d) of the FLSA. 29 U.S.C. § 203(d).
11          24.   At all material times, Defendants have operated as a “single enterprise”
12   within the meaning of 3(r)(1) of the FLSA. 29 U.S.C. § 203(r)(1) and 29 C.F.R. §
13   1620.7. That is, Defendants perform related activities through unified operation and
14   common control for a common business purpose. See Brennan v. Arnheim and
15   Neely, Inc., 410 U.S. 512, 515 (1973); Chao v. A-One Med. Servs. Inc., 346 F.3d
16   908, 914-15 (9th Cir. 2003).
17          25.   At all material times, Defendants have been an enterprise in commerce
18   or in the production of goods for commerce within the meaning of 3(r)(1) of the
19   FLSA because they have had employees engaged in commerce and sell liquor at
20   their club which has travelled in interstate commerce. Moreover, because of
21   Defendants’ interrelated activities, they function in interstate commerce. 29 U.S.C. §
22   203(s)(1).
23          26.   Furthermore, Defendants have had, and continue to have, an annual
24   gross business volume in excess of the statutory standard
25          27.   At all material times during the three years prior to the filing of this
26   action, Defendants categorized all dancers/entertainers employed at Fantasy Girls as
27   “independent contractors” and have failed and refused to pay wages or compensation
28   to such dancers/entertainers. Plaintiff was an individual employee who engaged in

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 1   commerce or in the production of goods for commerce as required by 29 USC
 2   § 206-207
 3         28.    The primary job duties of the named Plaintiff, and all other dancers
 4   similarly situation, consisted primarily of dancing on stage during a stage rotation,
 5   performing personal dances (also called “lap dances” or “private dances” for
 6   customers, and performing in “VIP” areas upon customer request.
 7         29.    Pursuant to the directions of the Defendants and/or their agents,
 8   Defendants require entertainers to audition in order to be hired; however, an
 9   entertainer’s physical appearance and not any level of dance, performance, or sales
10   skill determines her suitability to perform at Defendants’ clubs. Indeed, no prior
11   experience or training is required to be hired as a dancer-entertainer.
12         30.    At all times relevant to this action, Plaintiff (and all those similarly
13   situated) was subject to corporate-wide, uniform written rules, guidelines, and
14   policies which were established by Defendants and their agents. The rules,
15   guidelines, and policies governed entertainers’ conduct at all of the clubs mentioned
16   herein.
17         31.    Defendants exercised a great degree of operational control and
18   management over Fantasy Girls particularly in terms of the conditions of
19   employment applicable to dancers/entertainers.
20         32.    Defendant JAMY KESHMIRI is an owner, manager, and president of
21   defendant FANTASY GIRLS, LLC.
22         33.    As the owner, operator, and manager of defendant FANTASY GIRLS,
23   LLC employed the Plaintiff, as an employee who danced for and entertained
24   customers.
25         34.    Defendants JAMY KESHMIRI controlled the nature, pay structure, and
26   employment relationship of Plaintiff, at Fantasy Girls.
27         35.    Further, defendant JAMY KESHMIRI had, at all times relevant to this
28   lawsuit, the authority to hire and fire employees at Fantasy Girls, the authority to

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 1   direct and supervise the work of employees, the authority to sign on the businesses’
 2   checking accounts, including payroll accounts, and the authority to make decisions
 3   regarding employee compensation and capital expenditures. Additionally, JAMY
 4   KESHMIRI was responsible for the day-to-day affairs of Fantasy Girls. In particular,
 5   he was responsible for determining whether Fantasy Girls complied with the Fair
 6   Labor Standards Act.
 7           36.   As such, pursuant to 29 U.S.C. § 203(d), defendant JAMY KESHMIRI
 8   acted directly or indirectly in the interest of Plaintiff’s employment as her employer,
 9   which makes him individually liable under the FLSA.
10           37.   Defendant KAMY KESHMIRI is an owner, manager, and president of
11   defendant FANTASY GIRLS, LLC.
12           38.   As the owner, operator, and manager of defendant FANTASY GIRLS,
13   LLC employed the Plaintiff, as an employee who danced for and entertained
14   customers.
15           39.   Defendants KAMY KESHMIRI controlled the nature, pay structure,
16   and employment relationship of Plaintiff, at Fantasy Girls.
17           40.   Further, defendant KAMY KESHMIRI had, at all times relevant to this
18   lawsuit, the authority to hire and fire employees at Fantasy Girls, the authority to
19   direct and supervise the work of employees, the authority to sign on the businesses’
20   checking accounts, including payroll accounts, and the authority to make decisions
21   regarding employee compensation and capital expenditures. Additionally, KAMY
22   KESHMIRI was responsible for the day-to-day affairs of Fantasy Girls. In particular,
23   he was responsible for determining whether Fantasy Girls complied with the Fair
24   Labor Standards Act.
25           41.   As such, pursuant to 29 U.S.C. § 203(d), defendant JAMY KESHMIRI
26   acted directly or indirectly in the interest of Plaintiff’s employment as her employer,
27   which makes him individually liable under the FLSA.
28   VI.     VENUE AND JURSIDICTION

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 1          42.   This Court has jurisdiction over the subject matter of this action under
 2   28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.S.C. § 201, et seq.
 3          43.   Venue is proper in this District because all or a substantial portion of
 4   the events forming the basis of this action occurred in this District. Defendant’s club
 5   is located in this District and Plaintiff, and those similarly situated worked in this
 6   District.
 7   V.     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
 8                                (AGAINST ALL DEFENDANTS)
 9          A.    FACTUAL ALLEGATIONS
10          44.   Defendants operate adult entertainment clubs out of Washoe County,
11   Nevada, including under the name of Fantasy Girls.
12          45.   Defendants employ exotic dancers at its aforementioned locations.
13          46.   Plaintiff was previously employed as an exotic dancer at Defendant’s
14   adult entertainment club Fantasy Girls.
15          47.   Plaintiff, and those similarly situated, worked on a regular basis for
16   Defendant’s establishments located in Washoe County known as Fantasy Girls.
17          48.   The job of an exotic dancer is to perform on stage, perform table
18   dancers, and entertain customers in a “VIP” area of the Defendant’s club.
19          49.   Plaintiff was compensated exclusively through tips from Defendants’
20   customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
21   worked at their establishments.
22          50.   Furthermore, Defendants charged the Plaintiff a “house fee” per shift
23   worked. Defendants also required Plaintiff to share her tips with other non-service
24   employees who do not customarily receive tips, including the managers, disc
25   jockeys, and the bouncers.
26          51.   Defendants illegally classified the dancers as independent contractors.
27   However, at all times, Plaintiff, was an employee of Defendants.
28          52.   Defendants hired/fired, issued pay, supervised, directed, disciplined,

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 1   scheduled and performed all other duties generally associated with that of an
 2   employer with regard to the dancers.
 3         53.   In addition, Defendants instructed the dancers about when, where, and
 4   how they were to perform their work.
 5         54.   Defendants exercised significant control over the misclassified Plaintiff,
 6   and the Collective, through written and unwritten policies and procedures. The
 7   following further demonstrates the dancers’ status as employees:
 8               a.     Defendants have the sole right to hire and fire the dancers;
 9               b.     Defendants required dancers to complete an employee application
10                      as a prerequisite to their employment at Fantasy Girls;
11               c.     Defendants made the decision not to pay overtime;
12               d.     Defendants provide the dancers with music equipment and a
13                      performing stage;
14               e.     Defendants supervise the dancers, and required Plaintiff and those
15                      similarly situated to dance on stage according to a stage rotation
16                      established by the Defendants or their agents, including the Disc
17                      Jockey (“DJ”), dancers, including Plaintiff were required to dance
18                      when their name was called, and dancers were not allowed to
19                      choose which songs were played;
20               f.     Plaintiff has not made a financial investment with or in
21                      Defendants' business; Defendants financed all advertising and
22                      marketing efforts undertaken on behalf of the Fantasy Girls and
23                      made all capital investments in the facilities, maintenance, sound
24                      system, lights, food, beverage, and inventory, and made all hiring
25                      decisions regarding wait staff, security, entertainers, managerial,
26                      and other employees at Fantasy Girls; Plaintiff and those similarly
27                      situated were not allowed by Defendants or their agents to choose
28                      the songs that were played when they danced;

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 1               g.     Defendants schedule dancers, and required dancers to show up for
 2                      work at a specific time, with a schedule issued in advance and as
 3                      such have sole control over their opportunity for profit;
 4               h.     Defendants suspended dancers for violations of their rules of
 5                      conduct, including issuing fines to dancers who came to work
 6                      late;
 7               i.     Defendants set the prices for house fees, dances, and tip outs; the
 8                      price for a personal dance was the same regardless of which
 9                      entertainer performed the dance, and Plaintiffs, and those
10                      similarly situated, were not allowed to charge a different price
11                      than the price established by Defendants; t the prices for personal
12                      dances (“lap dances”) or private room (“VIP”) dances was also set
13                      by the Defendants and was the same regardless of which dancer
14                      was performing a personal dance or spending time in VIP with a
15                      customer;
16                j.    In addition to house fees, pursuant to the directions of the
17                      Defendants and/or their agents, Plaintiff and all other
18                      dancers/entertainers at Fantasy Girls were also required to pay
19                      “tip outs” each night the worked;
20               k.     The dancers were hired as permanent employees and many have
21                      worked for Defendants for years; and
22               l.     Little or no skill was required for the work Plaintiff or those
23                      similarly situated was required to perform at Defendants’ clubs.
24         55.   Defendants misclassified Plaintiff as an independent contractor to avoid
25   Defendants’ obligation to pay her pursuant to the Fair Labor Standards Act, and
26   Plaintiff was dependent upon customers tips, making her opportunity for profit or
27   loss a function of how much money customers have and are willing to spend and
28   how much Defendants required Plaintiff to pay in order to work.

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 1         56.     At all times pertinent to this action, Defendants regulated entertainers’
 2   attire and interactions with customers.
 3         57.     Pursuant to the direction of the Defendants and/or their agents,
 4   Plaintiffs and all other dancers/entertainers at the Defendants’ clubs were required to
 5   show up for work at a specific time, and to make up a schedule in advance. If
 6   entertainers are late for work, fail to appear for a scheduled shift, or are deemed to
 7   have violated any of the Club’s rules, they are charged additional fees or fines.
 8         58.     Plaintiff, and the members of the collective she seeks to represent, has
 9   been subject to a variety of these fees and fines during the last three years; the fees
10   and fines constitute unlawful “kickbacks” to the employer within the meaning of the
11   Fair Labor Standards Act, and Plaintiff and the collective are entitled to restitution of
12   all such fees and fines.
13         59.     Defendants’ primary business purpose is to make money; they do so by
14   attracting customers who wish to see women nude or in various stages of undress.
15   The services performed by dancers/entertainers are integral to the success of the
16   Defendants and Fantasy Girls.
17         60.     Pursuant to the directions of the Defendants and/or their agents,
18   entertainers at any of The Library Gentlemen’s Clubs were not allowed to hire
19   subcontractors to perform their duties for them. The right to dance as an entertainer
20   at Defendants’ club was a personal right, and only people hired by Defendants’
21   managerial staff were allowed to perform at Defendants’ club.
22         61.     Plaintiff worked over forty hours in some weeks she worked for
23   Defendants.
24         62.     Defendants have never paid Plaintiff any amount as wages whatsoever,
25   and have instead unlawfully required Plaintiff to pay for the privilege of working.
26         63.     The only source of monies received by Plaintiff relative to her
27   employment with Defendants came in the form of gratuities received directly from
28   customers, a portion of which she was required to pay to Defendants.

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 1         64.    Although Plaintiff was required to and do in fact frequently worked
 2   more than forty (40) hours per workweek, she was not compensated at the FLSA
 3   mandated time-and-a-half rate for hours in excess of forty (40) per workweek. In
 4   fact, she received no compensation whatsoever from Defendants and thus,
 5   Defendants violate the minimum wage requirement of FLSA. See 29 U.S.C. § 206.
 6         65.    Defendants’ method of paying Plaintiff in violation of the FLSA was
 7   willful and was not based on a good faith and reasonable belief that its conduct
 8   complied with the FLSA. Defendants misclassified Plaintiff with the sole intent to
 9   avoid paying her in accordance to the FLSA; the fees and fines described herein
10   constitute unlawful “kickbacks” to the employer within the meaning of the FLSA,
11   and Plaintiff is entitled to restitution of such fines and fees.
12         66.    Defendants never took possession of the payments made to Plaintiff or
13   those similarly situated.
14         67.    Defendants failed to include Plaintiff’s earnings, or those earnings from
15   those similarly situated to Plaintiff, in Defendants’ gross receipts for tax or
16   accounting purposes.
17         68.    The FLSA “economic realities” test has existed for decades, as have the
18   FLSA requirements of paying minimum wage and overtime to employees.
19         69.    Defendants’ failure to comply with the FLSA in all respects, including
20   the misclassification scheme at issue in this lawsuit, is, and was, willful.
21         70.    Defendants knew, or showed reckless disregard for the fact that they
22   misclassified dancers as independent contractors, and accordingly failed to pay
23   dancers the minimum wage and overtime wage at the required rate under the FLSA
24   and unlawfully deducted tip-outs and “house fees” from their pay.
25         71.    The Plaintiff, and those she seeks to represent, was/were not covered by
26   any minimum or overtime wage exemption contained in the FLSA.
27         72.    Defendants failed to keep adequate records of Plaintiff's and FLSA
28   Class Members’ work hours and pay in violation of section 211(c) of the Fair Labor

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 1   Standards Act. See 29 U.S.C. § 211(c).
 2         73.    Federal law mandates that an employer is required to keep for three (3)
 3   years all payroll records and other records containing, among other things, the
 4   following information:
 5                a.    The time of day and day of week on which the employees' work
 6                      week begins;
 7                b.    The regular hourly rate of pay for any workweek in which
 8                      overtime compensation is due under section 7(a) of the FLSA;
 9                c.    An explanation of the basis of pay by indicating the monetary
10                      amount paid on a per hour, per day, per week, or other basis;
11                d.    The amount and nature of each payment which, pursuant to
12                      section 7(e) of the FLSA, is excluded from the "regular rate";
13                e.    The hours worked each workday and total hours worked each
14                      workweek;
15                f.    The total daily or weekly straight time earnings or wages due for
16                      hours worked during the workday or workweek, exclusive of
17                      premium overtime compensation;
18                g.    The total premium for overtime hours. This amount excludes the
19                      straight-time earnings for overtime hours recorded under this
20                      section;
21                h.    The total additions to or deductions from wages paid each pay
22                      period including employee purchase orders or wage assignments;
23                i.    The dates, amounts, and nature of the items which make up the
24                      total additions and deductions;
25                j.    The total wages paid each pay period; and
26                k.    The date of payment and the pay period covered by payment.
27   29 C.F.R. 516.2, 516.5.
28         74.    Defendants have not complied with Federal Law and have failed to

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 1   maintain such records with respect to the Plaintiff. Because Defendants’ records are
 2   inaccurate and/or inadequate, Plaintiff can meet their burden under the FLSA by
 3   proving that they, in fact, performed work for which they were improperly
 4   compensated, and produce sufficient evidence to show the amount and extent of their
 5   work “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt.
 6   Clemens Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
 7   notice that she intends to rely on Mt. Clemens Pottery Co. to provide the extent of
 8   her unpaid work.
 9         B.     INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
10         75.    In Boucher v. Shaw, the U.S. Court of Appeals for the Ninth Circuit
11   held that individuals can be liable for FLSA violations under an expansive
12   interpretation of “employer.” Boucher v. Shaw (9th Cir. 2009) 572 F.3d 1087, 1088.
13   The FLSA defines “employer” as “any person acting directly or indirectly in the
14   interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The Ninth
15   Circuit stated that the definition of “employer” under FLSA is not limited by the
16   common law concept of “employer” but “is to be given an expansive interpretation
17   in order to effectuate the FLSA’s broad remedial purposes.”
18         76.    Where an individual exercises “control over the nature and structure of
19   the employment relationship,” or “economic control” over the relationship, that
20   individual is an employer within the meaning of the FLSA, and is subject to liability.
21   Lambert v. Ackerley (9th Cir. 1999) 180 F.3d 997. The Ninth Circuit highlighted
22   factors related to “economic control,” which included ownership interest; operational
23   control of significant aspects of the day-to-day functions; the power to hire and fire
24   employees; determine salaries; and the responsibility to maintain employment
25   records.
26         77.    Defendants JAMY KESHMIRI and KAMY KESHMIRI are
27   individually liable for failing to pay Plaintiff and the FLSA Class Members their
28   wages. The actual identities of DOE Managers 1-3 (and perhaps DOES 4 through

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 1   100) are unknown at this time.
 2   VII. COLLECTIVE ACTION ALLEGATIONS
 3         78.    Plaintiff hereby incorporates by reference and re-alleges each and every
 4   allegation set forth in each and every preceding paragraph of this Demand, as though
 5   fully set forth herein.
 6         79.    Plaintiff brings this action as an FLSA collective action pursuant to
 7   29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 8   Defendants as exotic dancers at any time during the three (3) years prior to the
 9   commencement of this action to present.
10         80.    Plaintiff has actual knowledge that FLSA Class Members have also
11   been denied overtime pay for hours worked over forty hours per workweek, forced to
12   pay illegal house fees, had gratuities and tips pooled and/or illegally diverted and
13   have been denied pay at the federally mandated minimum wage rate. That is,
14   Plaintiff worked with other dancers at Fantasy Girls. As such, she has first-hand
15   personal knowledge of the same pay violations throughout Defendants’ clubs.
16   Furthermore, other exotic dancers at Defendants’ Fantasy Girls have shared with her
17   similar pay violation experiences as those described in this Complaint.
18         81.    Other employees similarly situated to the Plaintiff work or have worked
19   at Defendants’ Fantasy Girls but were not paid overtime at the rate of one and one-
20   half their regular rate when those hours exceeded forty hours per workweek. The
21   other similarly situated dancers were forced to pay Defendants “house fees” to work
22   and had their tips pooled or diverted. Furthermore, these same employees were
23   denied pay at the federally mandated minimum wage rate.
24         82.    Although Defendants permitted and/or required the FLSA Class
25   Members to work in excess of forty hours per workweek, Defendants have denied
26   them full compensation for their hours worked over forty. Defendants have also
27   denied them full compensation at the federally mandated minimum wage rate.
28         83.    FLSA Class Members perform or have performed the same or similar

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 1   work as the Plaintiff.-dancing and entertaining at Defendants’ clubs.
 2         84.    FLSA Class Members regularly work or have worked in excess of forty
 3   hours during a workweek.
 4         85.    The FLSA class members were all subject to the same terms and
 5   conditions of employment, and the same degree of control, direction, supervision
 6   imposed by Defendants.
 7         86.    FLSA Class Members perform or have performed the same or similar
 8   work as the Plaintiff.
 9         87.    FLSA Class Members regularly work or have worked in excess of forty
10   hours during a workweek.
11         88.    FLSA Class Members regularly work or have worked and did not
12   receive minimum wage.
13         89.    FLSA Class Members regularly were forced to pay “house fees” in
14   order to work.
15         90.    FLSA Class Members regularly had their tips both pooled and diverted.
16         91.    FLSA Class Members are not exempt from receiving overtime and/or
17   pay at the federally mandated minimum wage rate under the FLSA.
18         92.    As such, FLSA Class Members are similar to Plaintiff in terms of job
19   duties, pay structure, misclassification as independent contractors and/or the denial
20   of overtime and minimum wage.
21         93.    Defendants’ failure to pay overtime compensation and hours worked at
22   the minimum wage rate required by the FLSA results from generally applicable
23   policies or practices, and does not depend on the personal circumstances of the
24   FLSA Class Members.
25         94.    The experiences of the Plaintiff, with respect to her pay, are typical of
26   the experiences of the FLSA Class Members.
27         95.    The specific job titles or precise job responsibilities of each FLSA Class
28   Member does not prevent collective treatment.

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 1            96.   All FLSA Class Members, irrespective of their particular job
 2   requirements, are entitled to overtime compensation for hours worked in excess of
 3   forty (40) during a workweek.
 4            97.   All FLSA Class Members, irrespective of their particular job
 5   requirements, are entitled to compensation for hours worked at the federally
 6   mandated minimum wage rate.
 7            98.   Although the exact number of damages may vary among FLSA Class
 8   Members, the damages for the FLSA Class Members can be easily calculated by a
 9   simple formula. The claims of all FLSA Class Members arise from a common
10   nucleus of facts. Liability is based on a systematic course of wrongful conduct by the
11   Defendant that caused harm to all FLSA Class Members.
12            99.   Named Plaintiff is “similarly situated” to the class of persons she seeks
13   to represent, and will adequately represent the interests of the class.
14            100. Plaintiff has hired counsel experienced in labor and employment cases
15   and collective actions under 29 U.S.C. 216(b) who will adequately represent the
16   class.
17            101. As such, Plaintiff brings her FLSA claims as a collective action on
18   behalf of the following class:
19              All of Defendants’ current and former exotic dancers who worked
20              at Fantasy Girls at any time starting three years before this
21              Complaint was filed.
22   VIII. CAUSES OF ACTION
23                                FIRST CAUSE OF ACTION
24            FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
25                                 (AGAINST ALL DEFENDANTS)
26            102. Plaintiff hereby incorporates by reference and re-alleges each and every
27   allegation set forth in each and every preceding paragraph of this Complaint, as
28   though fully set forth herein.

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 1         103. Defendants are or were the “employer” or joint-employers and
 2   employ(ed) Plaintiff and those similarly situated, and Plaintiff and those similarly
 3   situated were the “employees” those “employers” within the meaning of the FLSA,
 4   29 U.S.C. § 203(d).
 5         104. Defendants are engaged in “commerce” and/or the production of
 6   “goods” for “commerce.”
 7         105. Defendants are an enterprise engaged in commerce within the meaning
 8   of the FLSA, 29 U.S.C. § 203(s)(1), because they have employees engaged in
 9   commerce, and because their annual gross volume of sales made is more than
10   $500,000.
11         106. Plaintiff consented to sue in this action pursuant to 29 U.S.C. § 216(b).
12   Written Consent to sue executed by Plaintiff was submitted herewith.
13         107. Defendants misclassified Plaintiff as independent contractor.
14         108. Defendants failed to pay Plaintiff and all other similarly situated wages
15   at a rate of one and one-half (1 ½) times her regular rate, for hours worked in excess
16   of forty (4) hours per week, in violation of 29 U.S.C. § 207.
17         109. Defendants knowingly, intentionally and willfully violated the FLSA.
18         110. Defendants’ mischaracterization of Plaintiff as “independent
19   contractors”, with the consequence of having failed to pay them premium overtime
20   compensation for hours worked in excess of 40 hours per work week, constitutes a
21   willful violation of the FLSA, and Defendants did not rely on any determinations or
22   rulings of the U.S. Department of Labor in utilizing same.
23         111. Due to Defendants’ FLSA violations, Plaintiff and all other similarly
24   situated are entitled to recover from Defendants, as well as reasonable attorneys’ fees
25   and costs of the action, including interest, pursuant to 29 U.S.C. § 216(b), all in an
26   amount to be determined at trial.
27         112. Defendants’ practice of failing to pay Plaintiff time-and-a-half rate for
28   hours in excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207. In

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 1   fact, Defendants do not compensate them whatsoever for any hours worked.
 2          113. In at least one-week Plaintiff worked more than 40 hours per week, but
 3   were not compensated at all by Defendants
 4          114. None of the exemptions provided by the FLSA regulating the duty of
 5   employers to pay overtime at a rate not less than one and one-half times the regular
 6   rate at which its employees are employed are applicable to the Defendants or the
 7   Plaintiff.
 8          115. Due to Defendants’ FLSA violations, Plaintiff and the FLSA Class
 9   Members are entitled to recover from Defendants, minimum wage compensation of
10   $7.25 per hour, and an equal amount in the form of liquidated damages, as well as
11   reasonable attorneys’ fees and costs of the action, including interest, pursuant to 29
12   U.S.C. § 216(b), all in an amount to be determined at trial.
13                             SECOND CAUSE OF ACTION
14        FAILURE TO PAY OVERTIME WAGES PURSUANT TO FLSA, 29 U.S.C. § 207
15                               (AGAINST ALL DEFENDANTS)
16          116. Plaintiff hereby incorporates by reference and re-alleges each and every
17   allegation set forth in each and every preceding paragraph of this Demand, as though
18   fully set forth herein.
19          117. Each Defendant is an “employer” or “joint employer” of Plaintiff within
20   the meaning of the FLSA, 29 U.S.C. § 203(d).
21          118. Defendants are engaged in “commerce” and/or in the production of
22   “goods” for “commerce” as those terms are defined in the FLSA.
23          119. Defendants operate an enterprise engaged in commerce within the
24   meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in
25   commerce, and because its annual gross volume of sales made is more than five
26   hundred thousand U.S. Dollars ($500,000.00).
27          120. Defendants failed to pay Plaintiff the applicable overtime wage for each
28   hour in excess of forty (40) during each workweek in which she worked in violation

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 1   of 29 U.S.C. § 207.
 2         121. Defendants’ practice of failing to pay Plaintiff at the required minimum
 3   wage rate violates the FLSA. 29 U.S.C. § 206. In fact, Defendants do not
 4   compensate dancers whatsoever for any hours worked.
 5          122. None of the exemptions provided by the FLSA regulating the duty of
 6   employers to pay employees for all hours worked at the required minimum wage rate
 7   are applicable to the Defendants or the Plaintiff.
 8          123. Based upon the conduct alleged herein, Defendants knowingly,
 9   intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
10   wage required under the FLSA.
11          124. Throughout the relevant period of this lawsuit, there is no evidence that
12   Defendants’ conduct that gave rise to this action was in good faith and based on
13   reasonable grounds. In fact, Defendants continued to violate the FLSA long after it
14   learned that its misclassification scheme and compensation policies were unlawful.
15          125. Due to Defendants’ FLSA violations, Plaintiff and the FLSA Class
16   Members are entitled to recover from Defendants, overtime wage compensation and
17   an equal amount in the form of liquidated damages, as well as reasonable attorneys’
18   fees and costs of the action, including interest, pursuant to 29 U.S.C. § 216(b).
19                               THIRD CAUSE OF ACTION
20              UNLAWFUL TAKING OF TIPS / ILLEGAL DIVERSION-KICKBACK
21                             IN VIOLATION OF 29 U.S.C. § 203
22                                (AGAINST ALL DEFENDANTS)
23         126. Plaintiff hereby incorporates by reference and re-alleges each and every
24   allegation set forth in each and every preceding paragraph of this Demand, as though
25   fully set forth herein.
26         127. Plaintiff customarily and regularly received more than thirty U.S.
27   Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in the
28   FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.

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 1         128. At all relevant times, each Defendant is an “employer” or joint
 2   employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 3         129. Defendants are engaged in “commerce” and/or in the production of
 4   “goods” for “commerce” as those terms are defined in the FLSA.
 5         130. Defendants operate an enterprise engaged in commerce within the
 6   meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in
 7   commerce, and because its annual gross volume of sales made is more than five
 8   hundred thousand U.S. Dollars ($500,000).
 9         131. Tips belong to the employee: Plaintiff is entitled to recover payments
10   made by Plaintiff to the Club and its employees and workers because the as part
11   of her minimum wage and overtime wage losses because such payments reduced
12   her wages below the minimum and overtime wage. These types of illegal “kick-
13   backs” that the dancers paid from their tips in order to work are recoverable as
14   part of Plaintiffs’ wage loss under 29 C.F.R. § 531.35.
15
            Unlawful “kick-backs” must be returned to Plaintiffs to bring their lost
16          wages up to zero, and not leave them at a negative number. Reich
17          v. Priba Corp., 890 F.Supp. 586, 595 (N.D. Tex. 1995). “The FLSA does
            not permit an employer to transfer to its employees the responsibility for
18          the expenses of carrying on an enterprise.” Id. To fully compensate a
19          minimum wage employee where the employer has improperly required him
            to pay kickbacks, the Defendant employer must pay the full minimum wage
20          for all time worked, in addition to all fees collected. Reich v. Priba Corp., 890
21          F.Supp. 586, 595 (N.D. Tex. 1995); Reich v. Circle C Investments, Inc., 998
            F.2d 324, 330 (5th Cir. 1993); Richard Martin, No. 13-CV-4242-RWS, at *9
22          (N.D.Ga. Nov. 20, 2015).
23
24          Under the FLSA, wages must be paid “finally and unconditionally” or “free
25   and clear” of any direct or indirect “kickbacks.” 29 C.F.R. § 531.35 states:
26          [w]hether in cash or in facilities, ‘wages’ cannot be considered to have been
27          paid by the employer and received by the employee unless they are paid
            finally and unconditionally or ‘free and clear.’ The wage requirements of
28

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           the Act will not be met where the employee ‘kicks back’ directly or
 1
           indirectly to the employer or to another person for the employer’s benefit
 2         the whole or part of the wage delivered to the employee. This is true
 3         whether the ‘kick back’ is made in cash or in any way other than cash. . . . .
           [T]here would be a violation of the Act in any work week when the cost . . .
 4         by the employee cuts into the minimum or overtime wage required to be paid
 5         . . . under the Act.

 6
 7         Wages under the FLSA must be received “free and clear” of any improper
 8   deduction. Arriaga v. Florida Pacific Farms, LLC, 305 F.3d 1228, 1241 (11th Cir.
 9   2002. “[R]equiring employees to pay for expenses incurred for the benefit of the
10   employer functions as a de facto wage deduction.” De Leon-Granados v. Eller &
11   Sons Trees, Inc., 581 F. Supp. 2d 1295, 1315 (N.D.Ga. 2008). In fact, there is “no
12   difference between deducting an expense and failing to reimburse an expense.” Id.
13         The mandatory payment of house fees and “tip-out” fees required to be paid
14   by entertainers are the exact type of unlawful “kickbacks” prohibited by the FLSA.
15   These payments are recoverable as part of a FLSA wage claim to the extent they
16   reduce the employee’s wage below the minimum or overtime rate. Reich v. Priba
17   Corp., 890 F. Supp. 586, 595 (N.D.Tex. 1995); Reich v. Circle C Investments, Inc.,
18   998 F.2d 324, 330 (5th Cir. 1993); Hart v. Rick’s Cabaret International, Inc., 60
19   F.Supp.3d 447, 477 (S.D.N.Y. 2014). The clubs “practice of collecting a tip out
20   fee . . . violates the FLSA because the deduction further reduces the entertainers’
21   wages below the minimum wage.” Reich., 890 F. Supp. at 595. “[T]o fully
22   compensate the entertainers in the amounts required by the FLSA, [the club] must
23   pay them the full minimum wage for all time worked during the limitations period.
24   In addition, the club must return all tip out fees collected from the entertainers.”.
25   Id. “[T]he Court agrees with Plaintiffs that ‘the method of calculating Defendants’
26   back wage liability at trial should be (1) $7.25 per hour worked, plus (2) all [house
27   fees] paid by Plaintiffs to Defendants. . . .” Roger Wilson v. 1400 Northside Drive,
28   Inc., Civil Action No. 1:15-CV-4453-SCJ, * 21 (June 15, 2017 N.D.Ga.).

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 1         132. Plaintiff’s (and those similarly situated) post March 2018 employment
 2   is covered by the TIPA. Under TIPA:
 3         Under TIPA:
 4
           [a]n employer may not keep tips received by its employees for any
 5         purpose including allowing managers or supervisors to keep any portion
 6         of employees’ tips, regardless of whether or not it takes a tip credit.

 7         29 U.S.C. § 203.
 8
 9         133. Defendants kept a portion of tips paid to Plaintiff by Defendants’
10   customers in the form of fees, fines, mandatory charges and other payments to
11   management, house moms, DJ and floor men in violation of TIPA.
12         134. Defendants required Plaintiff to participate in an illegal tip pool, which
13   included employees who do not customarily and regularly receive tips, and do not
14   have more than a de minimis, if any, interaction with customer leaving the tips (such
15   as the Club DJ, security, and management). See U.S. Dep’t of Labor, Wage and Hour
16   Division, “Fact Sheet # 15: Tipped employees under the Fair Labor Standards Act
17   (FLSA).”
18         135. The contribution the Defendants required Plaintiff to make after each
19   shift was arbitrary and capricious and distribution was not agreed to by Plaintiff
20   other dancers; but rather, was imposed upon Plaintiff and other dancers.
21         136. By requiring Plaintiff to pool her tips with club management, including
22   the individual Defendants named herein, Defendants “retained” a portion of the tips
23   received by Plaintiff in violation of the FLSA.
24         137. Defendants did not make any effort, let alone a “good faith” effort, to
25   comply with the FLSA as it relates to compensation owed to Plaintiff.
26         138. At the time of their illegal conduct, Defendants knew or showed
27   reckless disregard that the tip-pool which they required Plaintiff to contribute
28   included non-tipped employees and, therefore, was statutorily illegal. In spite of this,

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 1   Defendants willfully failed and refused to pay Plaintiff the proper amount of the tips
 2   to which she was entitled.
 3         139. Defendants’ willful failure and refusal to pay Plaintiff the tips she
 4   earned violates the FLSA.
 5         140. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 6   customers in the form of fees, fines, mandatory charges and other payments to
 7   management, house moms, DJs, and door men in violation of TIPA
 8         141. As a result of the acts and omissions of the Defendants as alleged
 9   herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to damages
10   in the form of all misappropriated tips, plus interest; as liquated damages, an amount
11   equal to all misappropriated tips, mandatory attorneys’ fees, costs, and expenses.
12         142. As a result of Defendants willful violation of TIPA, Plaintiff and the
13   FLSA Class Members are entitled to recover, under the FLSA and TIPA, all tips kept
14   by the employer, any tip credit claimed by Defendants, an equal amount in liquidated
15   damages and attorneys’ fees.
16                                  PRAYER FOR RELIEF
17         WHEREFORE, Plaintiff, individually and on behalf of the FLSA Class, prays
18   for relief and judgment as follows:
19                1.    Certifying the Class as requested herein;
20                2.    Providing such further relief as may be just and proper.
21                3.    Appointing Plaintiffs and their counsel to represent the Class;
22         In addition, Plaintiff, and the FLSA Class Members pray for further judgment
23                as follows:
24                4.    As to Count I, award Plaintiff and the FLSA Class Members
25         judgment for wages at the minimum rate, including the recovery of all
26         payments reducing wages below the minimum wage, as well as liquidated
27         damages, interest and attorneys’ fees as provided for under the FLSA;
28

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 1              5.      As to Count II, award Plaintiff and the FLSA Class Members
 2        judgment for overtime wages, including the recovery of all payments reducing
 3        wages below the overtime wage, as well as liquidated damages in an equal
 4        amount, interest and attorneys’ fees as provided for under the FLSA;
 5              6.      As to Count III, award Plaintiff and the FLSA Class Members
 6        judgment for the recovery of all tips kept by the employer, the amount of any
 7        tip credit claimed by Defendants, an equal amount in liquidated damages and
 8        reasonable attorneys; fees under the FLSA and TIPA;
 9              7.      Award Plaintiff and the FLSA Class Members the costs of this
10        action, including expert fees;
11              8.      Award Plaintiff and the FLSA Class Members interest;
12              9.      Award Plaintiff and the FLSA Class Members attorneys’ fees; and
13              10.     For equitable and injunctive relief, including public injunctive
14        relief; and
15              11.     Award Plaintiff such other and further relief as the Court may
16        deem just and proper.
17
     Dated: September 27, 2019                        THE O’MARA LAW FIRM, P.C.
18
19                                                    /s/ David C. O’Mara
                                                      David C. O’Mara
20                                                    Attorneys for Plaintiff
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 1                             DEMAND FOR JURY TRIAL
 2        Plaintiff hereby demands a trial by jury for all such triable claims.
 3
 4
     Dated: September 27, 2019                        THE O’MARA LAW FIRM, P.C.
 5
 6                                                    /s/ David C. O’Mara
                                                      David C. O’Mara
 7                                                    Attorneys for Plaintiff
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